       Case 2:22-cv-00685-DGC Document 1 Filed 04/25/22 Page 1 of 3




 1                  LAW OFFICES
      BROENING OBERG WOODS & WILSON
 2           PROFESSIONAL CORPORATION
                 2800 N. CENTRAL
 3                  SUITE 1600
             PHOENIX, ARIZONA 85004
 4           TELEPHONE: (602) 271-7700
             FACSIMILE: (602) 258-7785
 5
     Robert T. Sullivan/Bar No. 022719
 6   Jessica J. Kokal/Bar No. 029042
 7   Email: jjk@bowwlaw.com
     Minute Entries/Orders to: cjg@bowwlaw.com
 8
     Attorneys for Defendant
 9
                                  UNITED STATES DISTRICT COURT
10
                                       DISTRICT OF ARIZONA
11
                                            DIVISION ONE
12

13   Casitas Del Sol Condominium Owners               Case No.
     Association, an Arizona corporation;
14
                          Plaintiff,                  STATE FARM FIRE AND CASUALTY
15                                                    COMPANY’S NOTICE OF REMOVAL
     v.                                               OF ACTION
16
     State Farm Fire and Casualty Company, an
17   Illinois Corporation; John and Jane Does, I-X;
     XYZ Partnerships, I-X; ABC Corporations, I-X,
18
                          Defendant.
19

20   TO:   Clerk of the United States District Court for the District of Arizona:
21          Please take notice that Defendant State Farm Fire and Casualty Company (“State
22   Farm”) hereby removes to this Court the state court action described below:
23          1.    Petitioner is a defendant in a civil action commenced and now pending in the
24   Superior Court in Maricopa County, Arizona, entitled Casitas Del Sol Condominium
25   Owners Association vs. State Farm Fire and Casualty Company, a foreign corporation,
26
        Case 2:22-cv-00685-DGC Document 1 Filed 04/25/22 Page 2 of 3




 1   Case No. CV2022-004452. A copy of the Complaint in this action is attached hereto as
 2   Exhibit “A” and incorporated herein by this reference.
 3              2.        Within 30 days of this Notice of Removal of Action, Defendant received a
 4   copy of the Summons and Complaint served upon it through the State of Arizona
 5   Department of Insurance.
 6              3.        This Notice of Removal is timely filed pursuant to 28 U.S.C. § 1446(b).
 7              4.        Defendant State Farm is a corporation incorporated in the State of Illinois
 8   with its principal place of business in the State of Illinois.
 9              5.        Plaintiffs are individuals.
10              6.        Jurisdiction is proper pursuant to 28 U.S.C. § 1332 in that diversity of
11   citizenship exists for the purposes of establishing federal jurisdiction.
12              7.        Plaintiffs assert claims for insurance bad faith and breach of contract, and
13   pray for an award of punitive damages.
14              8.        Defendant certifies that notice of this Removal has been filed with the Clerk
15   of the Superior Court of the State of Arizona, Maricopa County, as provided in 28 U.S.C.
16   § 1446(d).
17              9.        True copies of all process, pleadings and orders which have been served or
18   filed in this case are attached hereto and filed herewith.
19              10.       The undersigned has read this Notice of Removal and, to the best of the
20   undersigned’s knowledge, information and belief, formed after reasonable inquiry, certifies
21   that Defendant’s factual allegations have evidentiary support and its legal contentions are
22   warranted by existing law. The undersigned also certifies that this Notice of Removal is
23   not presented for any improper purpose, such as to harass or cause unnecessary delay or
24   needless increase in the cost of litigation.
25

26
                                                                 -2-
     P:\Notice of Removal Federal Court - SF adv. Casitas.docx
        Case 2:22-cv-00685-DGC Document 1 Filed 04/25/22 Page 3 of 3




 1             RESPECTFULLY SUBMITTED this 25th day of April, 2022.
 2                                                               BROENING OBERG WOODS & WILSON, P.C.
 3

 4                                                               By/s/Jessica T. Kokal
                                                                       Robert T. Sullivan
 5                                                                     Jessica J. Kokal
                                                                       Attorneys for Defendant
 6

 7
                                                   CERTIFICATE OF SERVICE
 8
               I hereby certify that on April 25, 2022, I electronically transmitted the attached
 9
     document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
10
     Notice of Electronic Filing to the following CM/ECF registrants:
11

12             A courtesy copy with a copy of the Notice of Electronic filing was also
13   emailed/mailed on this same date at the following address:
14

15                                                        Douglas F. Dieker
                                                        Dieker Copple, PLLC
16                                              14256 North Northsight Blvd., Suite 110
                                                      Scottsdale, Arizona 85260
17
                                                    douglas@diekercopplelaw.com
18
19

20

21   By /s/Amy Ebanks

22

23

24

25

26
                                                                     -3-
     P:\Notice of Removal Federal Court - SF adv. Casitas.docx
